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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                           Miami Division

                                   CASE NO. 21-21543-CIV-MORENO

  ROBERT MICHAELSON of ADVISORY
  TRUST GROUP, LLC, in his capacity as
  Debtor Representative and Liquidating
  Trustee,

           Plaintiff,

  vs.

  PETER BARONOFF, KEITH REUBEN,
  BRIAN DUNN, DAVID ARMSTRONG,
  JAMES HOPWOOD, RICHARD GOLD,
  BRYAN DAY, STAN GRABISH, RICHARD
  COHEN, STEVEN HELLAND, MALINDA
  BARONOFF, SHANNA BARONOFF, and
  JOHN DOES 1-100,

        Defendants.
  __________________________________/


                                OCTOBER STATUS OF PROCEEDINGS

               The above-captioned plaintiff (“Plaintiff”), Robert Michaelson of Advisory Trust Group,

  LLC, in his capacity as Debtor Representative and Liquidating Trustee of the estates of Promise

  Healthcare Group, LLC and its debtor affiliates, by and through his undersigned counsel, hereby

  submits this October Status of Proceedings and states as follows:

           1.        On October 28, 2020, Plaintiff filed the Complaint (D.E. 1) against Peter

  Baronoff, Keith Reuben, Brian Dunn, David Armstrong, James Hopwood, Richard Gold, Bryan

  Day, Stan Grabish, Richard Cohen, Steven Helland, Malinda Baronoff and Shanna Baronoff

  (collectively, the “Defendants,” and together with Plaintiff, the “Parties”) in the United States

  District Court for the District of Delaware (the “Delaware District Court”).


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           2.    On April 16, 2021, Plaintiff filed the Amended Complaint (D.E. 60).

           3.    On April 22, 2022, this action was transferred from the Delaware District Court to

  the United States District Court for the Southern District of Florida (the “Court”) (D.E. 67).

           4.    On May 17, 2021, the Parties filed the Joint Motion for a Sixty (60) Day Stay to

  Allow for Mediation (D.E. 76) (the “Joint Stay Motion”) requesting a sixty (60) day stay of all

  litigation activities and deadlines to allow the Parties to mediate the issues in the Amended

  Complaint.

           5.    In connection with the Joint Stay Motion, on May 21, 2021, the Court entered the

  Order Closing Case for Statistical Purposes and Placing Matter in Civil Suspense File (D.E. 81)

  (the “Suspense Order”). Among other things, the Suspense Order (i) closed the case for

  statistical purposes and placed the matter in a civil suspense file, (ii) provided that the case shall

  be restored to the active docket upon motion of a party if circumstances change, and (iii)

  required Plaintiff to notify the Court by July 19, 2021 and every thirty (30) days thereafter of the

  current status of the proceeding (the “Status Updates”) and when the action is ready to proceed.

           6.    As set forth in Plaintiff’s previously filed Status Updates (D.E. Nos. 82, 83, and

  84), the Parties have (i) selected Brian Spector as the mediator (the “Mediator”), (ii) selected

  October 18, 2021 as the date for mediation (the “Mediation”), and (iii) determined a schedule by

  which the Parties would produce documents and exchange position papers in connection with the

  Mediation.

           7.    In connection therewith, the Parties have completed their exchange of position

  papers and will attend the upcoming Mediation scheduled for October 18, 2021.




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           8.   Plaintiff will continue to provide Status Updates to the Court pursuant to the

  terms of the Suspense Order.

  Date: October 14, 2021                               Respectfully submitted,


                                                       /s/ Paul Steven Singerman
                                                       Paul Steven Singerman
                                                       Florida Bar No. 378860
                                                       singerman@bergersingerman.com
                                                       BERGER SINGERMAN LLP
                                                       1450 Brickell Avenue, Suite 1900
                                                       Miami, FL 33131
                                                       Telephone: (305) 755-9500
                                                       Facsimile: (305) 714-4340

                                                       - and -

                                                       Andrew H. Sherman (admitted pro hac vice)
                                                       Boris I. Mankovetskiy (admitted pro hac
                                                       vice)
                                                       Rachel E. Brennan (admitted pro hac vice)
                                                       SILLS CUMMIS & GROSS P.C.
                                                       One Riverfront Plaza
                                                       Newark, NJ 07102
                                                       Telephone: 973-643-7000
                                                       Facsimile: 973-643-6500
                                                       Email: asherman@sillscummis.com
                                                               bmankovetskiy@sillscummis.com
                                                               rbrennan@sillscummis.com

                                                       Counsel to Robert Michaelson of Advisory
                                                       Trust Group, LLC, in his capacity as Debtor
                                                       Representative and Liquidating Trustee




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